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                                UNITED STATES DISTRICT COURT

               WESTERN DISTRICT OF LOUISIANA - LAFAYETTE DIVISION

  GOLDMAN SACHS BANK USA,                                     CIVIL CASE NO. 15-2018

          Plaintiff,                                          JUDGE REBECCA F. DOHERTY

  v.                                                          MAG. JUDGE CAROL B.
                                                              WHITEHURST
  MICHEL B. MORENO, TIFFANY C.
  MORENO, MBM 2011 DOH GRANTOR
  RETAINED ANNUITY TRUST, TCM 2011
  DOH GRANTOR RETAINED ANNUITY
  TRUST, MBM 2011 MGH GRANTOR
  RETAINED ANNUITY TRUST, TCM 2011
  MGH GRANTOR RETAINED ANNUITY
  TRUST, MORENO PROPERTIES TWO,
  LLC, AND NICHOLSON ESTATES,
  L.L.C.,

          Defendants.



       EX PARTE MOTION TO APPOINT AN ATTORNEY TO ACCEPT SERVICE AND
                     NOTIFY THE ABSENTEE DEFENDANTS

          NOW INTO COURT, through undersigned counsel, comes Goldman Sachs Bank USA

  (the “Lender”), plaintiff herein, who respectfully files this Ex Parte Motion to Appoint An

  Attorney to Accept Service and Notify the Absentee Defendants (the “Motion”), as permitted

  under Louisiana Code of Civil Procedure articles 2674(1), 5091, 5251, 5095, and 5096, made

  applicable herein by rule 4(e) of the Federal Rules of Civil Procedure, and avers as follows1:




          1
            As noted in Lender’s Brief Regarding Appointing An Attorney For the Morenos, (Rec. Doc. 53),
  filed contemporaneously herewith, Lender believes that the appointment sought herein is not procedurally
  required now, if at all, in this in rem proceeding. Since such appointment serves only to better the
  administration of justice, solely at the expense of the Lender, the Lender seeks the relief set forth herein,
  without prejudice to any of its other positions in this case.



                                                       1
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         First, Louisiana law permits for an attorney to be appointed to represent a nonresident

  of the State of Louisiana. This in rem executory proceeding was commenced when Lender filed

  its Verified Complaint for Executory Process with the Benefit of Appraisal (Rec. Doc. No. 1)

  (the “Verified Complaint”) against the Defendants.2 Two of the named Defendants, Michel B.

  Moreno and Tiffany C. Moreno (the “Morenos”), are citizens of the state of Texas.

         The Louisiana Code of Civil procedure article 2674 provides:

                 The court shall appoint an attorney at law to represent the
                 unrepresented defendant in an executory proceeding under the
                 following circumstances:

                 (1) When the defendant is an absentee…

  The Louisiana Code of Civil Procedure article 5251 defines an absentee defendant as:

                  A person who is either a nonresident of this state, or a person
                 who is domiciled in but has departed from this state, and who has
                 not appointed an agent for the service of process in this state in the
                 manner directed by law; or a person whose whereabouts are
                 unknown, or who cannot be found and served after a diligent
                 effort, though he may be domiciled or actually present in the state;
                 or a person who may be dead, though the fact of his death is not
                 known, and if dead his heirs are unknown. (emphasis added)

  Here, the Morenos reside at 4425 Highland Drive, Dallas, Texas.            Thus, the Morenos are

  considered to be absentee defendants because they are nonresidents of the State of Louisiana.

         Second, an attorney can be appointed on ex parte written motion. The Louisiana Code

  of Civil Procedure article 5091, provides the manner of appointing an attorney at law and states,

  in relevant part, that the “court shall appoint an attorney at law to represent the defendant, on the




         2
             Unless otherwise stated in this Memorandum, all capitalized terms have the same meaning
  ascribed to them in the Verified Complaint (Rec. Doc. No. 1).



                                                   2
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  petition or ex parte written motion of the plaintiff….” Accordingly, the Court can and should

  appoint an attorney for the Morenos during these proceedings based on this ex parte Motion.3

          Third, the duties of the attorney appointed for the Morenos is extremely limited. The

  appointed attorney’s4 “sole function in an executory proceeding is to receive service of all

  process and to notify the defendant of the pendency of the proceeding.” La. Code Civil Proc. art.

  5095 Cmt. B; Mortg. v. Brown, 631 So. 2d 521 (La. App. 4th Cir. 1994). In fact, The Louisiana

  Code of Civil Procedure article 5095 provides as follows:

                  The attorney at law appointed by the court to represent a defendant
                  shall use reasonable diligence to inquire of the defendant, and to
                  determine from other available sources, what defense, if any, the
                  defendant may have, and what evidence is available in support
                  thereof.

                  Except in an executory proceeding, the attorney may except to
                  the petition, shall file an answer in time to prevent a default
                  judgment from being rendered, may plead therein any affirmative
                  defense available, may prosecute an appeal from an adverse
                  judgment, and generally has the same duty, responsibility, and
                  authority in defending the action or proceeding as if he had been
                  retained as counsel for the defendant.
          3
            When an attorney is appointed under La. C. Civ. Proc. art. 2674(1) to represent an absentee
  defendant, all service in the executory proceeding is made upon the attorney pursuant to La. C. Civ. Proc.
  art. 2641, which provides: “In all cases governed by Article 2674, all demands, notices, and other
  documents required to be served upon the defendant in an executory proceeding shall be served upon the
  attorney at law appointed by the court to represent him, against whom the seizure and sale shall be
  prosecuted contradictorily.”
          4
            Importantly, La. C. Civ. Proc. art. 5092 explains the required qualifications for the appointed
  attorney and provides:

                  When the court appoints an attorney at law to represent an unrepresented
                  party, it shall appoint an attorney qualified to practice law in this state.

                  The court shall not accept any suggestion as to the name of the attorney
                  to be appointed, unless manifestly in the interest of the unrepresented
                  party.

  Applying this Louisiana provision here, the Court should appoint an attorney that is
  qualified to practice law in the State of Louisiana and who is not involved in this
  proceeding directly or indirectly.



                                                       3
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  La. C. Civ. proc. art. 5095. Accordingly, the attorney appointed must strictly adhere to the sole

  duty of receiving all required notices and notifying the Morenos of same.5

          WHEREFORE, Goldman Sachs Bank USA prays that its motion be granted and that the

  Court appoint an attorney for Michel B. Moreno and Tiffany C. Moreno to fulfill the limited

  duties set forth in La. Code Civ. Proc. art. 5095.

          Dated: May 12, 2016


                                                          Respectfully submitted

                                                          /s/ Laura F. Ashley
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                                                          Attorneys for Goldman Sachs Bank USA


          5
            Because the duties of an attorney appointed to represent a non-resident defendant are
  extensively limited, the compensation of the attorney is likewise limited. The court in Federal Nat.
  Mortg. v. Brown, 631 So. 2d 521 (La. App. 4th Cir. 1994), found that curator’s fee of $1,200 was
  excessive to receive service of process and notify defendants of executory proceeding and, therefore, had
  to be reduced to $600 for six defendants;  highest fee that could be considered customary in executory
  proceeding was $400 for first two defendants and $50 for each additional defendant.



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                                CERTIFICATE OF SERVICE

           I hereby certify that on May 12, 2016, a copy of the foregoing filing has been served

  upon Defendants, Moreno Properties Two, LLC, and Nicholson Estates, LLC, through their

  attorney of record via the Court’s CM/ECF by electronic (email) transmission to:

           William E. Steffes, bsteffes@steffeslaw.com


                                                  /s/ Laura F. Ashley




  {N3222601.1}                                   1
